      Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

 ODIS LEE JACKSON,                           §
                                             §
          Petitioner,                        §
                                             §
 v.                                          §      Civil Action No. H-05-890
                                             §      Criminal Action No. H-02-373-4
 UNITED STATES OF AMERICA,                   §
                                             §
          Respondent.                        §
                                             §
                                        ORDER

        Pending before the Court are the Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence by a Person in Federal Custody (Civil Document No. 1,

Criminal Document No. 212) filed by Odis Lee Jackson, and Answer to § 2255

Motion, Motion to Dismiss, M otion for Summary Judgment, and Brief (Criminal

Document No. 219) filed by the United States of America. Having considered the

motions, submissions, and applicable law, the Court determines that Odis Lee

Jackson’s motion should be denied, and the United States’ motion should be granted.

                                  BACKGROUND

        On July 15, 2002, Defendant Odis Lee Jackson (“Jackson”) and three co-

defendants were indicted in the Houston Division of the Southern District of Texas on

two counts. Count one charged Jackson with conspiracy to possess with intent to
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 2 of 12




distribute 50 grams or more of a mixture and substance containing a detectable amount

of cocaine base in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(iii), and 846. Count

two charged Jackson with aiding and abetting the possession with intent to distribute

50 grams or more of a mixture and substance containing a detectable amount of cocaine

base in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(iii) and 18 U.S.C. § 2.

       On July 23, 2002 Jackson pleaded not guilty to the indictment. Thereafter, the

Court, upon Jackson’s motion, severed Jackson from the other defendants. On January

8, 2003, after a two day jury trial, the jury found Jackson guilty on both counts of the

indictment. Upon conviction, the Court ordered the preparation of a presentence report

(“PSR”) which revealed that Jackson had more than two prior felony drug convictions.

According to 21 U.S.C. § 841(b), a defendant who commits a violation of 21 U.S.C.

§ 841(a)(1) and 21 U.S.C. § 841 (b)(1)(A)(iii) after two or more prior felony drug

convictions must be sentenced to a mandatory term of life imprisonment. On March

31, 2003, upon a finding that Jackson had been convicted of at least two prior felony

drug offenses, the Court sentenced Jackson to a term of life as to each count, to run

concurrently, followed by ten years supervised release.1 Additionally, the Court

imposed a $200 special assessment.

      1
        The life sentences Jackson received are the statutory maximums set forth by the
statutes the jury found Jackson guilty of violating. Specifically, 21 U.S.C. §841(b) states
imprisonment shall be for a term not less than 10 years or more than life.

                                            2
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 3 of 12




      Jackson appealed his conviction and sentence to the United States Court of

Appeals for the Fifth Circuit. On appeal, Jackson argued that the evidence was

insufficient to support his convictions. He also argued that it was plain error for the

court to fail to conduct a 21 U.S.C. § 851 colloquy before enhancing his sentence

based on prior convictions. Lastly, he argued that the quantity of drugs should have

been proven as an element of the offense, and that Apprendi v. New Jersey, 530 U.S.

466 (2000), rendered 21 U.S.C. §§ 841(a) & (b) unconstitutional. On February 4,

2004, the Fifth Circuit, in an unpublished per curiam opinion, rejected Jackson’s

arguments and affirmed the judgment and sentence of this Court. Jackson did not seek

certiorari in the United States Supreme Court. Therefore his conviction became final

on May 5, 2004.

      On March 17, 2005, Jackson filed a motion to vacate, set aside, or correct his

sentence under 28 U.S.C. § 2255 contending his conviction should be vacated due to

the manner in which his sentence was calculated. While his arguments are far from

pellucid, it appears Jackson argues the United States Supreme Court decision in United

States v. Booker, 125 S. Ct. 738 (2005), which makes the United States Sentencing

Guidelines (“Guidelines”) advisory, should be applied retroactively to his case. He

also argues his conviction should be vacated because the jury instructions given at trial

were constitutionally deficient. In its answer, motion to dismiss, and motion for

                                           3
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 4 of 12




summary judgment, the Government argues Jackson’s sentence was proper and he

should not be afforded any relief.

                             STANDARD OF REVIEW

      In order to vacate, set aside or correct a sentence pursuant to 28 U.S.C. § 2255,

a petitioner must clear a “significantly higher hurdle” than would be required on direct

appeal. United States v. Frady, 456 U.S. 152, 166 (1982). This higher hurdle requires

a petitioner to show both “cause” and “actual prejudice.” Id. at 167; see also United

States v. Acklen, 47 F.3d 739, 741-42 (5th Cir. 1995). A petitioner must show “cause”

to explain the reason why the appeal was not made originally at trial or on direct

appeal, and that there has been “actual prejudice” suffered from the alleged errors.

Frady, 456 U.S. at 168.

      To prove “cause,” a petitioner must show that an external obstacle prevented

claims from being raised either at trial or on direct appeal. See McCleskey v. Zant, 499

U.S. 467, 497-98 (1991). To prove “actual prejudice” the petitioner must show that

he or she suffered an actual and substantial disadvantage. Frady, 456 U.S. at 170.

When applying the “cause” and “actual prejudice” standard, motions to vacate

sentences “may raise only constitutional errors and other injuries that could not have

been raised on direct appeal that will result in a miscarriage of justice if left

unaddressed.” United States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1991).

                                           4
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 5 of 12




                                 LAW & ANALYSIS

A. Booker is Not Retroactive to Cases on Collateral Review

      Jackson argues Booker should be retroactively applied to his case. However,

upon analysis, the Court concludes that Booker is not retroactively applicable to cases

on collateral review. First, the language in Booker does not itself indicate that its

holding is retroactively applicable. Second, the reasoning in the United States Supreme

Court decision in Schriro v. Summerlin, 542 U.S. 348 (2004), provides strong

indication that Booker is not retroactive. Third, several circuit courts hold Booker is

not retroactive. Finally, recent cases in the Fifth Circuit recognize that Booker is not

retroactively applicable to cases on collateral review.

      1. United States v. Booker

      The Supreme Court in Booker held that, pursuant to the Sixth Amendment, any

fact other than a prior conviction, “which is necessary to support a sentence exceeding

the maximum authorized by the facts established by a plea of guilty or a jury verdict

must be admitted by the defendant or proved to a jury beyond a reasonable doubt.”

United States v. Booker, 125 S. Ct. 738, 756 (2005). To ensure that the Guidelines

complied with the Sixth Amendment requirements defined above, the Supreme Court

removed certain statutory provisions from those guidelines, thereby making the

guidelines advisory rather than mandatory. Id. at 756-57. Additionally, in Booker, the

                                           5
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 6 of 12




Supreme Court stated that its holding is applicable to “all cases on direct review,” and

failed to state that the decision applies to cases on collateral review. Id. at 769.

      2. Schriro v. Summerlin

      Other Supreme Court decisions further indicate Booker is not retroactively

applicable to cases on collateral review. In Summerlin, the Supreme Court held that

the new procedural rule announced in Ring v. Arizona, 536 U.S. 584 (2002), did not

apply retroactively to cases on collateral review. Summerlin, 542 U.S. at 358. The

rule announced in Ring extended the Apprendi reasoning and found that sections of

Arizona’s sentencing scheme allowing a judge to find aggravating factors to enable the

judge to impose the death penalty violated the Sixth Amendment. Ring, 536 U.S. at

609. The fact that Ring was not applied retroactively to cases on collateral review

supports the conclusion that Booker, too, should not be applied retroactively to cases

on collateral review because Booker, like Ring, is based on the principles laid out in

Apprendi. Indeed, the United States Court of Appeals for the Eleventh Circuit has held

that the Supreme Court’s ruling in Summerlin is dispositive on the issue of whether

Booker is retroactive in the context of a § 2255 motion. Varela v. United States, 400

F.3d 864, 867 (11th Cir. 2005).

      3. Other Circuits




                                            6
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 7 of 12




       The United States Courts of Appeals that have directly addressed this issue agree

that Booker is not retroactively applicable to cases on initial collateral review. United

States v. Bellamy, 411 F.3d 1182, 1186-88 (10th Cir. 2005)(holding under Teague v.

Lane, 489 U.S. 288 (1989), that Booker is a new procedural rule and should not be

applied retroactively to cases on initial collateral review 2); Lloyd v. United States, 407

F.3d 608 (3d Cir. 2005); Guzman v. United States, 404 F.3d 139, 144 (2d Cir. 2005);

Humphress v. United States, 398 F.3d 855, 860-63 (6th Cir. 2005); McReynolds v.

United States, 397 F.3d 479, 481 (7th Cir.), cert. denied, 125 S. Ct. 2559 (2005); In

re Anderson, 396 F.3d 1336, 1340 (11th Cir. 2005). Indeed, the sheer number of

circuits that hold Booker is not retroactive provides strong indication that the case is

not retroactive.




       4. The Fifth Circuit

       The Fifth Circuit has indicated Booker is not retroactively applicable to cases on

collateral review. For example, based on the Supreme Court’s Summerlin decision and

other circuit decisions, the Fifth Circuit refused to apply Booker retroactively on
       2
         Bellamy points out that if a new procedural rule falls under one of the Teague
exceptions, it can be applied retroactively. Bellamy, 411 F.3d at 1187-88. Booker, however,
does not fall under one of the exceptions because it “did not add or remove any conduct from
the realm of criminal offenses” and is not a watershed rule. Id.

                                             7
     Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 8 of 12




“collateral review for purposes of a successive § 2255 motion.” In re Elwood, 408 F.3d

211, 213 (5th Cir. 2005). Additionally, the Fifth Circuit, in Padilla v. United States,

a case involving the § 2255 savings clause, stated “Booker’s holding is not

retroactively applicable to cases on collateral review.” Padilla v. United States, 416

F.3d 424, 427 (5th Cir. 2005). M oreover, the United States District Court for the

Southern District of Texas, in light of Padilla and other circuit decisions, determined

that generally “Booker is not retroactive to cases on collateral review.” United States

v. Villegas, No. CR. C-04-405, 2005 WL 2875326, at *4-6 (S.D. Tex Oct. 30,

2005)(determining Booker is generally not retroactively applicable to cases on

collateral review).

       Therefore, taking into consideration Booker and Summerlin, along with several

circuit court holdings and recent cases in the Fifth Circuit, the Court determines

Jackson’s argument fails because Booker does not apply retroactively to cases on

collateral review.




B.     Booker Sentencing Claims

       Assuming, arguendo, Booker is retroactive, Jackson’s claim for relief under

Booker also fails on the merits because his sentence was based on a mandatory

statutory enhancement due to prior convictions. Relief under Booker is only available

                                          8
    Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 9 of 12




if, under the Guidelines, the judge issues the sentence using facts not proven to the jury

or admitted in a guilty plea. Booker, 125 S. C t. at 756 (reaffirming the holding in

Apprendi). However, in Booker the Supreme Court recognized that a court can

consider prior convictions when imposing a sentence and stated,“[a]ny fact (other than

a prior conviction) which is necessary to support a sentence exceeding the maximum

authorized by the facts established by a plea of guilty or a jury verdict must be admitted

by the defendant or proved to a jury beyond a reasonable doubt.” Id.

      Under the applicable ruling in Booker, Jackson is not entitled to relief because

his sentence was a result of a mandatory statutory enhancement based on Jackson’s

prior convictions rather than the judge’s discretion under the sentencing guidelines.

Jackson was originally charged with crimes involving 50 grams or more of cocaine

base, which carry a statutory sentence range from 10 years to life. See 21 U.S.C. §

841(b).   Prior to trial, the Government filed an information and notice of prior

conviction to enhance Jackson’s sentence. See 21 U.S.C. § 851(a)(1). Moreover, the

PSR revealed that Jackson had a number of prior felony drug convictions.

Accordingly, under 21 U.S.C. § 841(b), which provides a defendant who commits a

violation of 21 U.S.C. § 841(a)(1) and 21 § U.S.C. (b)(1)(A)(iii) “after two or more

prior convictions of a felony drug offense have become final, such person shall be

sentenced to a mandatory term of life imprisonment without release. . . .” See 21

                                            9
   Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 10 of 12




U.S.C. § 841(b); 21 U.S.C. § 851(a)(1).          Therefore, because Jackson has been

convicted of more than two prior felony drug convictions, his sentence was proper.

C. The Argument of Deficient Jury Instructions is Barred

       While it is unclear, Jackson appears to argue that the jury instructions given by

the trial court were constitutionally deficient, thereby violating his Fifth and Sixth

Amendment rights. He claims that the words “or more” in the charge, which stated

“[t]he violation involved fifty (50) grams or more of a mixture and substance containing

a detectable amount of cocaine base. . .” when given to the jury were unconstitutional

because they required speculation. Additionally, he avers that by having this language

in the jury instruction, it is the court and not the jury that did the fact finding.

       It is unclear whether or not Jackson rased the issue of defective jury instructions

on direct appeal. In its response, the United States claims that he did not. However,

Jackson, in his Traverse Motion, argues that this issue was raised on direct appeal,

thereby preserving it for collateral attack under a § 2255 motion. Regardless of

whether or not Jackson raised the issue on direct appeal, it is not properly raised in this

§ 2255 motion.

       If Jackson did raise the defective jury instruction on direct appeal, his motion

must be denied. Indeed, an issue reviewed and decided on direct appeal cannot be

raised again in a § 2255 motion. United States v. Webster, 421 F.3d 308, 311 n.7 (5th

                                            10
   Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 11 of 12




Cir. 2005); see also United States v. Kalish 780 F.2d 506, 508 (5th Cir. 1986) (stating

that “issues raised and disposed of in a previous appeal from an original judgment of

conviction are not considered in § 2255 [m]otions”).

      Even if this issue was not raised on appeal, as the Government argues, Jackson’s

argument still fails. The Fifth Circuit has held that in order to raise the constitutional

issue of defective jury instructions in a § 2255 motion, the movant must show “cause”

and “actual prejudice” for not rasing the issue during trial or on direct appeal. United

States v. Shaid, 937 F.2d 228, 231-32 (5th. Cir. 1991)(citing the Frady standard of

review for a § 2255 motion). Jackson does not attempt to show “cause” and “actual

prejudice” because he argues that he directly appealed this issue. Therefore, he has

made no showing of “cause” and “actual prejudice” for failing to raise this issue during

trial or on direct appeal. Thus, Jackson’s argument fails, regardless of whether or not

he raised the issue of defective jury instructions on direct appeal.




                                    CONCLUSION

      Booker is new law that is not retroactive to cases on initial collateral review.

Accordingly, Jackson’s retroactivity arguments fail.        Moreover, notwithstanding

Booker, the Court properly sentenced Jackson. Additionally, Jackson cannot prevail

on the issue of defective jury instructions because such an issue is correctly raised on

                                           11
   Case 4:02-cr-00373 Document 229 Filed on 11/22/05 in TXSD Page 12 of 12




direct appeal, and cannot properly be raised in a § 2255 motion. Accordingly, the

Court hereby

      ORDERS that Odis Lee Jackson’s Motion to Vacate, Set Aside or Correct

Sentence by a Person in Federal Custody (Civil Document No. 1, Criminal Document

No. 212) is DENIED. The Court further

      ORDERS that the Government’s M otion to Dismiss (Criminal Document No.

219) is GRANTED.

      SIGNED at Houston, Texas, on this 22 nd day of November, 2005.


                                             __________________________

                                                   DAVID HITTNER

                                               United States District Judge




                                        12
